                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

Vijai RAO, jointly and individually,
                                              CASE NO.:
and
Sumathi MATHUR, jointly and
individually,                                                COMPLAINT
                       PLAINTIFFS,
                                              COUNT I:   Negligence
v.                                            COUNT II:  Breach of Implied
ERA ALASK AIRLINES, an Alaskan                           Warranty
corporation;                                  COUNT III: Fraud
                                              COUNT IV: Violation of Aviation
Bob HADJUKOVICH, President, ERA                          Consumer Protection
Alaska Airlines;                              COUNT V: Gross Negligence
                                              COUNT VI: Punitive Damages
XYZ CORPORATIONS 1-5; XYZ
PARTNERSHIPS 1-5; AND DOES 1-10.
                                              Assigned to:
                       DEFENDANTS.

                                                         (Jury Trial Demanded)


                                       COMPLAINT
       Plaintiffs, Vijai Rao and Sumathi Mathur, jointly and as individuals (collectively, the
“Plaintiffs,” and interchangeably individually by their real names, as applicable), as and for their
complaint against Defendants, and each of them, allege as follows:
                                1. JURISDICTION AND VENUE
       1.1     The counts encompassing this suit are subject to the diversity subject matter
jurisdiction of this Federal District Court, as vested in 28 U.S.C. § 1332, given the following:
The monetary claim sought by Plaintiffs herein exceeds the threshold of $75,000.00, and the
parties hereto are citizens of different states, as Plaintiffs are citizens of the State of Maryland
and the identified Defendants are an individual and a corporate citizen of the State of Alaska,
conducting business in that state.

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                                2. STATUTE OF LIMITATION
       2.1     The statute of limitation for a suit in this matter is three years from the incurred
loss of August 23, 2010 and thereafter. This matter is timely filed.
                                           3. PARTIES
       3.1     At all times relevant to the acts, occurrences, and events encompassing the instant
Complaint, Plaintiffs were airline passengers or consumer of airline services provided by ERA
Alaska Airlines, and / or its employees, and /or its contractors and /or other suppliers of airline
services. In this complaint, Defendant ERA Alaska Airlines should be construed to include ERA
Alaska Airlines, and / or its employees, and /or its contractors and /or other suppliers of airline
services.
       3.2     Upon information and belief, it is alleged that at all times relevant to the acts,
occurrences and events, Defendant ERA Alaska Airlines was and is an Alaskan corporation, who
owned and operated aircraft and provided airline services to the Plaintiffs. Plaintiffs were
traveling with family and friends on vacation.
       3.3     As to the fictitiously named Defendants, specifically “XYZ Corporations 1-5,
XYZ Partnerships 1-5, and Does 1-10”, their identities and their existence are not known at this
time, but the Complaint will be amended as soon as discovery reveals their true identities, as may
be applicable herein.
                                 4. GENERAL ALLEGATIONS
       4.1     Plaintiffs’ boarded a flight operated by ERA Alaska Airlines. The flight boarded
in Kodiak, AK and its destination was Anchorage, Alaska the evening of 22 August 2010.
       4.2     Plaintiffs carried with them personal items in a carrying case on board the airline
operated by the Defendants including several items of valuable jewelry and cash. Plaintiff
checked that these items were in their possession prior to boarding the airplane for the flight
from Kodiak to Anchorage.
       4.3     On 23 August 2010, after deplaning in Anchorage, Plaintiffs noticed that their
personal property which included the several valuable pieces of jewelry and cash were missing.
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       4.4     Plaintiffs returned to the airport in Anchorage to search for the missing personal
property.
       4.5     During the early morning hours of August 23, 2010, Plaintiffs informed
Defendant ERA Alaska Airlines that they had lost personal property between Kodiak and
Anchorage. Plaintiffs searched the deplaning area in the Anchorage airport but did not find their
personal property.
       4.6     Plaintiffs asked permission of Defendant ERA Alaska Airlines to search the plane
on which they had flown from Kodiak to Anchorage. This request was denied. Defendant ERA
Alaska Airlines advised Plaintiffs that the airplane could not be searched for several more hours.
The Defendant advised Plaintiffs that the airplane search would be conducted by ERA Alaska
Airlines.
       4.7     Later the same morning of August 23, 2010, Plaintiffs notified Defendant ERA
Alaska Airlines that Mr. Rao would return to Kodiak to conduct a search of the boarding area in
the airport in Kodiak, Alaska. Defendant ERA Alaska Airlines sold a round trip ticket to Mr.
Rao.
       4.8     Just prior to the boarding announcement for Mr. Rao’s flight back to Kodiak to
conduct a search for Plaintiffs’ personal property, Defendant ERA Alaska Airlines came to
Plaintiffs to inform them that their property had been recovered. Defendant ERA Alaska Airlines
told Plaintiffs that although they could not produce their personal property it was being held for
them and their property was safe and secure.
       4.9     After discussing the recovery of their personal property, Mr. Rao informed
Defendant ERA Alaska Airlines that he still intended to go to Kodiak to conduct the search. In
this way he would be certain that the personal property was not still in Kodiak.
       4.10    Defendant ERA Alaska Airlines discouraged Mr. Rao from making the trip.
Defendant ERA Alaska Airlines told Plaintiffs that their personal property had been found.
Defendant described the carrying case to Plaintiffs and assured them that their property had been
recovered. To further discourage Mr. Rao from making the trip to Kodiak to conduct his search,
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Defendant ERA Alaska Airlines promised that the cost of the round trip ticket from Anchorage
to Kodiak and back would be fully refunded by Defendant.
       4.11    With these assurances, Plaintiffs did not go to Kodiak to conduct a search for their
personal property there.
       4.12    Plaintiffs asked to see the recovered items so they could verify that the recovered
items belonged to them. Defendant ERA Alaska Airlines continued to insist that the items had
been found and would soon be returned to them.
       4.13     Later on August 23, 2010, Defendant ERA Alaska Airlines informed Plaintiffs
that they had been mistaken. Plaintiff’s personal property had not been found by Defendants.
Defendant ERA Alaska Airlines told the Plaintiffs that the item recovered was not theirs.
Defendant ERA Alaska Airlines told the Plaintiffs that the item recovered did not contain their
personal property.
       4.14    In informing Plaintiffs that they had not recovered their personal items it became
clear to the Plaintiffs that Defendant ERA Alaska Airlines was withholding information about
their personal property. It was clear to the Plaintiffs that they had been prevented from searching
for their personal property by Defendant ERA Alaska Airlines.
        4.15   Plaintiffs lodged a written complaint with Defendant regarding the lost personal
property and requested that Defendant refund of the round trip airline ticket as promised.
Plaintiffs also asked that Defendant conduct or continue to search for their personal property.
       4.16    Plaintiffs filled a report with Anchorage Airport police detailing the incident of
their personal property.
       4.17    Plaintiffs suffered anguish and humiliation due to the loss of valuable personal
property.
                                    5. CAUSES OF ACTION
                                     COUNT I: Negligence
       5.1     All preceding general allegations are hereby incorporated herein.
       5.2     As the operator, owner and provider of airline services, Defendant ERA Alaska
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Airlines owed a duty to Plaintiffs to provide to them a safe and secure flight free from any
misconduct in the safeguarding of their personal property, or mishandling of their personal
property, or the pilferage of the personal property by the company, its employees, and its
contractors or other suppliers.
        5.3     Defendant ERA Alaska Airlines breached this respective duty of theirs when
Defendant ERA Alaska Airlines supplied to Plaintiffs an environment that was insecure and
subject to misconduct in the safeguarding of their personal property, or mishandling of their
personal property, or the pilferage of the personal property by the company, its employees, and
its contractors or other suppliers .
        5.4     Defendant ERA Alaska Airlines caused harm to the Plaintiffs and the Plaintiffs’
personal property by their misconduct in the safeguarding of their personal property, or
mishandling of their personal property, or the pilferage of the personal property by the company,
its employees, and its contractors. The harm would not have occurred without the actions of the
Defendant ERA Alaska Airlines.
        5.5     Defendant ERA Alaska Airlines knew and/or should have known that the
misconduct in the safeguarding of their personal property, or mishandling of their personal
property, or the pilferage of the personal property by the company, its employees, and its
contractors would cause Plaintiffs to suffer harm and injury.
        5.6     Plaintiffs suffered damages in the loss of their valuable personal property, money,
and anguish and humiliation of the loss of valuable personal property.
        5.7     Plaintiffs incurred damages in that Plaintiffs suffered physical and emotional
injuries from the loss of their personal property. Plaintiffs also suffered losses in the form of
bills to replace lost personal items including jewelry and money.
        5.8     The actions and inaction of Defendant ERA Alaska Airlines, as described above,
were negligent, direct and the proximate cause of the harm and injuries Plaintiffs incurred and
continued to incur.
                            COUNT II: Breach of Implied Warranty
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        5.9      All preceding general allegations are hereby incorporated herein.
        5.10     Defendant ERA Alaska Airlines warranted that the flight aboard their aircraft
would be safe and secure, free from misconduct by the company, its employees or its contractors.
        5.11     Defendant ERA Alaska Airlines made the representation to Plaintiffs that their
personal property had been recovered and was safe. This retraction of the representation is a
breach of a safe and secure airline flight free from misconduct by Defendant.
        5.12     Defendant’s actions and inaction caused the loss of Plaintiffs personal property
and caused harm and injury to the Plaintiffs.
        5.13     Plaintiffs incurred damages in the loss of money and their personal property.
Plaintiffs suffered emotional injuries from the loss of the personal property. Plaintiffs also
suffered losses in the form of bills and loss of time in purchasing replacements for the lost
personal property.
        5.14     The actions and inaction of Defendant, as described above, were the proximate
cause of the harm and injuries Plaintiffs incurred and continued to incur.
                                       COUNT III: Fraud
        5.15     All preceding general allegations are hereby incorporated herein.
        5.16     Defendant ERA Alaska Airlines led Plaintiffs to believe that the airline would
provide a safe and secure environment for travel. Defendant also negligently misrepresented
whether Defendant had recovered Plaintiffs’ personal items. Defendant further negligently
misrepresented that Plaintiff’s personal items were safe and secure.
        5.17     In effect, Defendant ERA Alaska Airlines knowingly and fraudulently deceived
Plaintiffs by representing that their personal items were recovered and in safekeeping. Plaintiffs
had a reasonable expectation that the Defendant’s representations regarding the recovery and
safeguarding of their personal property were true. Defendant ERA Airlines had a duty to inform
Plaintiffs about the whereabouts of their personal property, and to keep the property safe for
Plaintiffs.
        5.18     Plaintiffs incurred damages in that Plaintiffs suffered physical loss of their
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personal property and emotional injuries from the loss of valuable personal property. Plaintiffs
also suffered losses in the form of expenses and loss of time in the replacement of their personal
property.
        5.19    The actions and inaction of Defendant ERA Alaska Airlines, as described above,
were the proximate cause of the harm and injuries Plaintiffs incurred and continued to incur.
                   COUNT V: Violation of Aviation Consumer Protection
        5.20    All preceding general allegations are hereby incorporated herein.
        5.21    49 U.S.C.   §   10101 makes it a priority to maintain safety and security at the
highest level in the airline industry. Such safety and security is in the public interest.
        5.22    Defendant ERA Alaska Airlines violated the law when the company, its
employees, and its contractors created an insecure and unsafe environment for the Plaintiffs and
other airline passengers. 49 U.S.C.     §   10101 makes it a duty of the airline to maintain and
enhance security and safety in the industry. In addition, Defendant ERA Alaska Airlines violated
the Aviation Consumer Protection laws in not refunding the Plaintiffs’ roundtrip ticket but
prevented Plaintiff from using the ticket. (See 14 C.F.R. § 341)
        5.23    Plaintiffs incurred damages in that Plaintiffs suffered the physical loss of their
personal property and emotional injuries from the loss of their property. Plaintiffs also suffered
losses in the form of replacement costs and loss of time.
        5.24    The actions of Defendant ERA Alaska Airlines, as described above, were the
proximate cause of the harm and injuries Plaintiffs incurred and continued to incur.
                                   COUNT VI: Gross Negligence
        5.25    All preceding general allegations are hereby incorporated herein.
        5.26    As the owner and operator of an airline company, Defendant ERA Alaska
Airlines owed a duty to Plaintiffs to provide safe and secure travel to the Plaintiffs. Defendant
ERA Alaska Airlines breached this respective duty when Defendant made misrepresentations to
Plaintiffs about their personal property. Further, Defendant caused further harm by preventing
Plaintiffs from conducting their own search in Anchorage and Kodiak.
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          5.27   Defendant ERA Alaska Airlines knew, or should have known, that their
misrepresentations regarding Plaintiffs personal property would cause Plaintiffs to suffer harm
and injury. Defendant ERA Alaska Airlines knew, or should have known, that preventing
Plaintiffs from searching for their personal property would cause Plaintiffs to suffer harm and
injury.
          5.28   Plaintiffs incurred damages in that Plaintiffs suffered the physical loss of their
personal property and emotional injuries. Plaintiffs also suffered losses in the form of expenses
and time and effort in replacing their property.
          5.29   It is because of Defendant’s actions and inactions exhibiting their reckless
disregard for the care and safekeeping of Plaintiffs’ property that caused harm and injury to the
Plaintiffs.
                                 COUNT VII: Punitive Damages
          5.31   All preceding general allegations are hereby incorporated herein.
          5.32   As the airline owner and operator, Defendant ERA Alaska Airlines owed a duty to
Plaintiffs to provide to them with airlines services that are safe and secure for the passengers and
their personal property.
          5.33   Defendant ERA Alaska Airlines breached this duty of theirs when Defendant
ERA Alaska Airlines did not supply Plaintiffs with a secure pre-flight, flight, post-flight
environment. Instead, ERA Alaska Airlines mishandled Plaintiffs personal property causing it to
be lost or stolen and was never recovered by the Plaintiffs.
          5.34   Defendant ERA Airlines told the Plaintiffs that their personal property had been
“found” and that their personal property was being held in safekeeping for them. Subsequent
events show that their lost personal property had not been recovered and was not being held for
them.
          5.35   Defendant ERA Alaska Airlines represented to Plaintiffs that they recovered
Plaintiffs property. Defendant later retracted that representation causing Plaintiff harm in the loss
of property.
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        5.36    Defendant ERA Alaska Airlines knew that the withholding Plaintiff’s property
would cause Plaintiffs to suffer harm and injury, and consciously and / or deliberately
disregarded the potential of such harm and injury to Plaintiffs. Defendant further prevented
Plaintiffs from searching for their lost personal property by making false representations and
physically preventing the Plaintiffs from conducting a thorough search.
        5.37    Plaintiffs incurred damages in that Plaintiffs suffered the physical loss of their
personal property and emotional injuries due to the loss of their valuable property. Plaintiffs also
suffered losses in the form of time in an effort to recover their lost property.
        5.38    Defendant ERA Alaska Airlines, through its actions and inactions, that exhibited
their conscious and / or deliberate disregard for the care and preservation of Plaintiffs’ property,
and it is due to Defendant ERA Alaska Airlines’ conscious or deliberate disregard for the rights
of Plaintiffs, that Plaintiffs incurred and continued to incur said harm and injuries.
                                               6. DAMAGES
        6.1     As a result of Defendants’ actions alleged above, Plaintiffs suffered the following
damages, including: (1) compensatory damages, (2) exemplary and punitive damages, and (3)
any other damages that may be proven at trial.
                                         7. JURY DEMAND
        7.1     A trial by jury is demanded.
                                               8. PRAYER
        WHEREFORE, Plaintiffs pray that a judgment be entered against Defendants as follows:
        8.1     For compensatory damages in favor of Plaintiffs and against all Defendants,
jointly and separately liable, in the amount of $76,200 (Seventy Six Thousand Two Hundred
Dollars) or as to be determined at trial;
        8.2     For punitive damages in favor of Plaintiffs in the amount of $248,800 (Two
Hundred Forty Eight Thousand and Eight Hundred Dollars) against all Defendants, jointly and
severally liable, to be determined at trial;
        8.3     For attorney’s fees, costs, pre-judgment and post-judgment interest as provided by
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